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 3   Sacramento, California 95814
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 5
     Attorney for Defendant
 6   CHARLES HEAD
 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                    )
                                                  )
11                         Plaintiff,             )      No. CR. S-08-0116 FCD
                                                  )
12                                                )      STIPULATION AND ORDER
                    v.                            )      CONTINUING STATUS CONFERENCE;
13                                                )      EXCLUSION OF TIME
     CHARLES HEAD, et al.,                        )
14                                                )
                           Defendants.            )
15                                                )
16          The United States of America, through Assistant U.S. Attorney Ellen V. Endrizzi, and
17   defendant Charles Head, through his counsel Scott L. Tedmon; defendant Keith Brotemarkle,
18   through his counsel Robert G. Gazley; defendant Benjamin Budoff, through his counsel Dwight M.
19   Samuel; defendant John Corcoran, through his counsel Matthew C. Bockmon; defendant Domonic
20   McCarns, through his counsel James R. Greiner; defendant Lisa Vang, through her counsel
21   Alessandro G. Assanti; and defendant Kou Yang, through her counsel Joseph H. Low IV, hereby
22   stipulate that the Status Conference set for Monday, November 17, 2008 at 10:00 a.m., be continued
23   to Monday, December 15, 2008 at 10:00 a.m. before United States District Judge Frank C. Damrell,
24   Jr.
25          The government has provided the initial volume of discovery to defense counsel which is
26   in excess of 23,000 pages. Additionally, defense counsel has been informed there are a voluminous
27   number of bankers boxes which contain several hundred-thousand pages of documents seized from
28   the various searches. Counsel for the various defendants are in the midst of reviewing the initial

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 1   volume of discovery and need additional time to continue that process as well as identify legal issues
 2   and discuss the matter with their respective clients. Beyond the initial volume of discovery
 3   produced by the government to the defendants, the additional materials referenced previously have
 4   not yet been reviewed by defense counsel. Finally, continuing the status conference to December
 5   15, 2008 promotes judicial economy given that the hearing on defendant Charles Head’s motion to
 6   dismiss is already set for December 15, 2008 at 10:00 a.m. before Judge Damrell.
 7             As such, government and defense counsel stipulate it is appropriate to continue the current
 8   status conference to Monday, December 15, 2008 at 10:00 a.m. Michele Krueger has approved the
 9   December 15, 2008 hearing date. No jury trial date has been set in this case.
10             The parties stipulate the Court should find that time be excluded through December 15, 2008
11   under the Speedy Trial Act based on complexity and the need of counsel to prepare pursuant to 18
12   U.S.C. §3161(h)(8)(B)(ii) and (iv); Local Code T2 and Local Code T4. The parties stipulate and
13   agree that the interests of justice served by granting this continuance outweigh the best interests of
14   the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).
15             Finally, Scott L. Tedmon has been authorized by counsel to sign this stipulation on their
16   behalf.
17   IT IS SO STIPULATED.
18   DATED: November 7, 2008                        McGREGOR W. SCOTT
                                                    United States Attorney
19
                                                     /s/ Ellen V. Endrizzi
20                                                  ELLEN V. ENDRIZZI
                                                    Assistant U.S. Attorney
21
22   DATED: November 7, 2008                        LAW OFFICES OF SCOTT L. TEDMON
23                                                   /s/ Scott L. Tedmon
                                                    SCOTT L. TEDMON
24                                                  Attorney for Defendant Charles Head
25
26   DATED: November 7, 2008                        LAW OFFICE OF ROBERT G. GAZLEY
27                                                  /s/ Robert G. Gazley
                                                    ROBERT G. GAZLEY
28                                                  Attorney for Defendant Keith Brotemarkle

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 1   DATED: November 7, 2008           LAW OFFICES OF DWIGHT M. SAMUEL
 2                                     /s/ Dwight M. Samuel
                                       DWIGHT M. SAMUEL
 3                                     Attorney for Defendant Benjamin Budoff
 4
     DATED: November 7, 2008           OFFICE OF THE FEDERAL DEFENDER
 5
                                       /s/ Matthew Bockmon
 6                                     MATTHEW BOCKMON
                                       Attorney for Defendant John Corcoran
 7
 8   DATED: November 7, 2008           LAW OFFICES OF JAMES R. GREINER
 9                                      /s/ James R. Greiner
                                       JAMES R. GREINER
10                                     Attorney for Defendant Domonic McCarns
11
     DATED: November 7, 2008           ASSANTI & ASSOCIATES
12
                                       /s/ Alessandro G. Assanti
13                                     ALESSANDRO G. ASSANTI
                                       Attorney for Defendant Lisa Vang
14
15   DATED: November 7, 2008           THE LAW FIRM OF JOSEPH H. LOW IV
16                                      /s/ Joseph H. Low IV
                                       JOSEPH H. LOW IV
17                                     Attorney for Defendant Kou Yang
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 1                                                ORDER
 2          GOOD CAUSE APPEARING and based upon the above stipulation, IT IS HEREBY
 3   ORDERED that the Status Conference now scheduled for Monday, November 17, 2008 at 10:00
 4   a.m., is hereby continued to Monday, December 15, 2008 at 10:00 a.m., before the Honorable Frank
 5   C. Damrell, Jr. Based upon the above stipulation, the Court finds that time be excluded under the
 6   Speedy Trial Act for complexity and need of counsel to prepare pursuant to 18 U.S.C.
 7   §3161(h)(8)(B)(ii) and (iv), Local Code T2 and Local Code T4, through the Status Conference date
 8   of December 15, 2008.      The Court finds that the interests of justice served by granting this
 9   continuance outweigh the best interests of the public and the defendant in a speedy trial. 18 U.S.C.
10   § 3161(h)(8)(A).
11          IT IS SO ORDERED.
12   DATED: November 7, 2008
                                                  _______________________________________
13                                                FRANK C. DAMRELL, JR.
                                                  UNITED STATES DISTRICT JUDGE
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